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    In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 05-136V
                                          (Not For Publication)

*************************
                             *
LAURA HOLT, Parent of        *
A.H.T., a minor,             *
                             *                                            Filed: September 1, 2017
                 Petitioner, *
                             *                                            Decision on Attorneys’
              v.             *                                            Fees and Costs
                             *
SECRETARY OF HEALTH AND      *
HUMAN SERVICES               *
                             *
                 Respondent. *
*************************

Andrew D. Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for Petitioners.
Alexis B. Babcock, U.S. Department of Justice, Washington, DC, for Respondent.


                   DECISION AWARDING ATTORNEYS’ FEES AND COSTS

HASTINGS, Special Master.

        In this case under the National Vaccine Injury Compensation Program (hereinafter “the
Program”1), Laura Holt (“Petitioner”) seeks, pursuant to 42 U.S.C. § 300aa-15(e)(1), an award
for attorneys’ fees and other costs incurred in attempting to obtain Program compensation. After
careful consideration, I have determined to grant the request in substantial part, and deny it in
part.


                                                           I

    BACKGROUND LAW CONCERNING ATTORNEYS’ FEES AND COSTS AWARDS

        Special masters have the authority to award “reasonable” attorneys' fees and litigation
costs in Vaccine Act cases. §300aa–15(e)(1). This is true even when a petitioner is unsuccessful

1
  The applicable statutory provisions defining the Program are found at 42 U.S.C. § 300aa-10 et seq. (2012 ed.).
Hereinafter, for ease of citation, all "§" references will be to 42 U.S.C. (2012 ed.). The statutory provisions defining
the Program are also sometimes referred to as the “Vaccine Act.”


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on the merits of the case -- in such cases, a special master “may” award fees, if the petition was
filed in good faith and with a reasonable basis. Id. “The determination of the amount of
reasonable attorneys’ fees is within the special master's discretion.” Saxton v. HHS, 3 F.3d 1517,
1520 (Fed. Cir. 1993); see also Shaw v. HHS, 609 F.3d 1372, 1377 (Fed. Cir. 2010).

        Whether a claim is brought in “good faith” is a subjective determination, long understood
as requiring an “honest belief” that a claim is appropriate for compensation. See, e.g., Chronister
v. HHS, No. 89-41V, 1990 WL 293438, at *1 (Fed. Cl. Spec. Mstr. Dec. 4, 1990). The standard
for finding good faith has been described as “very low,” and findings that a petition lacked good
faith are rare. Heath v. HHS, No. 08-86V, 2001 WL 4433646, at *2 (Fed. Cl. Spec. Mstr. Aug.
25, 2011). In fact, it has been said that petitioners are entitled to a presumption of good faith
absent direct evidence of bad faith. Grice v. HHS, 36 Fed. Cl. 114, 121 (1996).

        The question of whether a claim has a “reasonable basis”, on the other hand, is objective,
and must be affirmatively established by the petitioner. McKellar v. HHS, 101 Fed. Cl. 297, 303
(2011). The claim of a “reasonable basis” must be supported by more than “unsupported
speculation.” Perreira v. HHS, 33 F.3d 1375, 1377 (Fed. Cir. 1994). Rather, to have a
reasonable basis, a claim must be supported, at a minimum, by medical records of medical
opinion. Chronister, 1990 WL 293438, at *1. Even though reasonable basis may exist at the
time the petition is filed, it “may later come into question if new evidence becomes available or
the lack of supporting evidence becomes apparent.” Chuisano v. HHS, 116 Fed. Cl. 276, 288
(2014); see also Perriera, 33 F.3d at 1377 (affirming the special master’s finding that reasonable
basis existed until the evidentiary hearing); Hamrick v. HHS, No. 99-683V, 2007 WL 4793152,
at *4 (Fed. Cl. Spec. Mstr. Nov. 19, 2007) (observing that “[p]etitioner’s counsel must review
periodically the evidence supporting petitioner’s claim”).

        As to all aspects of a claim for attorneys’ fees and costs, the burden is on the petitioner to
demonstrate that the attorneys’ fees claimed are “reasonable.” Sabella v. HHS, 86 Fed. Cl. 201,
215 (2009); Hensley v. Eckerhart, 461 U.S. 424, 437 (1983); Rupert v. HHS, 52 Fed. Cl. 684,
686 (2002); Wilcox v. HHS, No. 90-991V, 1997 WL 101572, at *4 (Fed. Cl. Spec. Mstr. Feb. 14,
1997). The petitioner’s burden of proof to demonstrate “reasonableness” applies equally to costs
as well as attorneys’ fees. Perreira v. HHS, 27 Fed. Cl. 29, 34 (1992), aff'd, 33 F.3d 1375 (Fed.
Cir. 1994).

        One test of the “reasonableness” of a fee or cost item is whether a hypothetical petitioner,
who had to use his own resources to pay his attorney for Vaccine Act representation, would be
willing to pay for such expenditure. Riggins v. HHS, No. 99-382V, 2009 WL 3319818, at *3
(Fed. Cl. Spec. Mstr. June 15, 2009), aff’d by unpublished order (Fed. Cl. Dec. 10, 2009), aff’d,
406 Fed. App’x. 479 (Fed. Cir. 2011); Sabella v. HHS, No. 02-1627V, 2008 WL 4426040, at *28
(Fed. Cl. Spec. Mstr. Aug. 29, 2008), aff’d in part and rev’d in part, 86 Fed. Cl. 201 (2009). In
this regard, the United States Court of Appeals for the Federal Circuit has noted that:

       [i]n the private sector, ‘billing judgment’ is an important component in fee setting. It is
       no less important here. Hours that are not properly billed to one’s client also are not
       properly billed to one’s adversary pursuant to statutory authority.



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Saxton, 3 F.3d at 1521 (emphasis in original) (quoting Hensley, 461 U.S. at 433–34). Therefore,
in assessing the number of hours reasonably expended by an attorney, the court must exclude
those “hours that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private
practice ethically is obligated to exclude such hours from his fee submission.” Hensley, 461 U.S.
at 434; see also Riggins, 2009 WL 3319818, at *4.

        The Federal Circuit has also made clear that special masters may rely on their prior
experience in making reasonable fee determinations, without conducting a line-by-line analysis
of the fee bill, and are not required to rely on specific objections raised by respondent. See
Saxton, 3 F.3d at 1521; Sabella, 86 Fed. Cl. at 209; see also Wasson v. HHS, 24 Cl. Ct. 482, 484,
486 (1991), aff’d, 988 F.2d 131 (Fed. Cir. 1993) (holding that, in determining a reasonable
number of hours expended in any given case, a special master may rely on her experience with
the Vaccine Act and its attorneys, without basing his decision on a line-by-line examination of
the fee application). A unanimous Supreme Court has articulated a similar holding:

           We emphasize, as we have before, that the determination of fees “should not result in a
           second major litigation.” The fee applicant (whether a plaintiff or a defendant) must, of
           course, submit appropriate documentation to meet “the burden of establishing entitlement
           to an award.” But trial courts need not, and indeed should not, become green-eyeshade
           accountants. The essential goal in shifting fees (to either party) is to do rough justice, not
           to achieve auditing perfection. So trial courts may take into account their overall sense of
           a suit, and may use estimates in calculating and allocating an attorney’s time. And
           appellate courts must give substantial deference to these determinations, in light of “the
           district court’s superior understanding of the litigation.” We can hardly think of a sphere
           of judicial decisionmaking in which appellate micromanagement has less to recommend
           it.

Fox v. Vice, 563 U.S. 826, 838 (2011) (internal citations omitted).


                                                           II

                                      PROCEDURAL BACKGROUND

        Petitioner filed a “short form” petition, used in the Omnibus Autism Proceeding (“OAP”)
to allege a causal relationship between one or more vaccines and a neurological disorder such as
an autism spectrum disorder (“ASD”), on behalf of her daughter, A.H.T., on January 21, 2005.2


2
    By electing to file a Short-Form Autism Petition for Vaccine Compensation, Petitioner alleged that:

           As a direct result of one or more vaccinations covered under the National Vaccine Injury
           Compensation Program, the vaccinee in question has developed a neurodevelopmental disorder,
           consisting of an Autism Spectrum Disorder or a similar disorder. This disorder was caused by a
           measles-mumps-rubella (MMR) vaccination; by the “thimerosal” ingredient in certain Diphtheria-
           Tetanus-Pertussis (DTP), Diphtheria-Tetanus-acellular Pertussis (DTaP), hepatitis B, and
           Hemophilus Influenza Type B (Hib) vaccinations; or by some combination of the two.


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By filing this “short form” petition, Petitioner opted into the OAP.3 Petitioner’s case, along with
others in the OAP, was stayed until the outcomes of the OAP “test cases” became final.4

        After the final appellate decision in the OAP test cases was issued,5 petitioners in OAP
cases were ordered to inform the special master to whom their case was assigned whether they
intended to proceed with their claim, either on a new theory of causation or with new evidence
on one or both of the rejected causation theories. Petitioner filed a motion to substitute her
current attorney, Andrew Downing, for her former attorney, Ronald Homer of Conway, Homer,
and Chin-Caplan on March 15, 2011. (ECF No. 12.) Interpreting the motion as an indication
that Petitioner intended to pursue her claim, the special master to whom the case was assigned,
Special Master Vowell, ordered Petitioner to file an amended petition. (See Order, ECF No. 14,
issued Apr. 5, 2011.) In her amended petition, filed on September 22, 2011, Petitioner alleged
that A.H.T. suffered an adverse reaction to the Hepatitis B vaccine she received on April 4, 2002,
when five days old. (ECF No. 19.)

        During the subsequent eight-month period, Petitioner filed medical records (ECF Nos.
20, 22-23, 26-28, 31, 33, 35-36, 38, 41, 50-52), statements and medical literature (ECF Nos. 42,
46, 49, 53, 55), and expert reports, curriculum vitae, and medical literature from Dr. Andrew
Levinson (ECF No. 39), Dr. Phillip DeMio (ECF No. 40), and Dr. Fran D. Kendall (ECF No.
56). In these filings, Petitioner further refined her argument, alleging that A.H.T. had an
underlying mitochondrial dysfunction, which was significantly aggravated by the Hepatitis B
vaccine. (See, e.g., Petitioner’s Post-Hearing Brief, ECF No. 86, filed May 9, 2013.) As noted
by Special Master Vowell in her entitlement Decision filed on June 24, 2015, Petitioner’s new
theory of causation followed a trend in many former OAP cases. See Holt v. HHS, No. 05-136V,
2015 WL 4381588, at *2-3, 3 n.9 (Fed. Cl. Spec. Mstr. June 24, 2015).

       On July 19, 2012, the Secretary of Health and Human Services (“Respondent”) filed a
“Rule 4 report” in opposition of Petitioner’s claim (ECF No. 57), and expert reports, curricula

Autism General Order #1, 2002 WL 31696785, at *5 (Fed. Cl. Spec. Mstr. July 3, 2002). This Order can also be
found on the Master Autism Petition for Vaccine Compensation on the court’s website at
http://www.uscfc.uscourts.gov/sites/default/files/autism/Autism+General+Order1.pdf.
3
  I set forth a detailed discussion of the controversy regarding vaccines and autism and the development of the OAP
to address the 5,000 cases in this Court in my Decision in King, one of the test cases. See King v. HHS, No. 03-
584V, 2010 WL 892296, at *5-12 (Fed. Cl. Spec. Mstr. Mar. 12, 2010).
4
  The Petitioners’ Steering Committee, an organization formed by attorneys representing petitioners in the OAP,
litigated six test cases presenting two different theories on the causation of ASDs. Decisions in all six cases rejected
petitioners’ causation theories. The Theory 1 cases are Cedillo v. HHS, No. 98-916V, 2009 WL 331968 (Fed. Cl.
Spec. Mstr. Feb. 12, 2009), aff’d, 89 Fed. Cl. 158 (2009), aff’d, 617 F.3d 1328 (Fed. Cir. 2010); Snyder v. HHS, No.
01-162V, 2009 WL 332044 (Fed. Cl. Spec. Mstr. Feb. 12, 2009), aff’d, 88 Fed. Cl. 706 (2009); Hazelhurst v. HHS,
No. 03-654V, 2009 WL 332306 (Fed. Cl. Spec. Mstr. Feb. 12, 2009), aff’d, 88 Fed. Cl. 473 (2009), aff’d, 604 F.3d
1343 (Fed. Cir. 2010). Petitioners in Snyder did not appeal the decision of the U.S. Court of Federal Claims. The
Theory 2 cases are Mead v. HHS, No. 03-215V, 2010 WL 892248 (Fed. Cl. Spec. Mstr. Mar. 12, 2010), Dwyer v.
HHS, No. 03-1202V, 2010 WL 892250 (Fed. Cl. Spec. Mstr. Mar. 12, 2010); King, 2010 WL 892296. The
petitioners in all three Theory 2 cases chose not to appeal.
5
    See Cedillo v. HHS, 617 F.3d 1328 (Fed. Cir. 2010).


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vitae, and medical literature from Dr. Max Wiznitzer (ECF No. 58) and Dr. Shawn McCandless
(ECF No. 59). An evidentiary hearing was conducted by Special Master Vowell on February 13-
15, 2013. (See ECF No. 61.) All experts except for Dr. Levinson testified at the hearing. See
Holt, 2015 WL 4381588, at *4. Initially, Dr. Levinson was to testify at the hearing by telephone,
but was not reachable when called. (See Petitioner’s Pre-Hearing Submission and Witness and
Exhibit List, ECF No. 66, filed Jan. 22, 2013, p. 9; Transcript or Proceedings (“TR”), ECF Nos.
78, 80, 82, pp. 284, 290.)

         On March 8, 2013, the parties filed a Stipulation of Facts Regarding Interim Attorneys’
Fees and Costs (“Stipulation”). (ECF No. 72.) Petitioner initially requested attorneys’ fees and
costs incurred through February 22, 2013, by Mr. Downing in the amount of $135,957.22 and by
Petitioner’s former law firm, Conway, Homer, and Chin-Caplan in the amount of $3,730.00.
(Id., ¶ 4.) The only amounts reserved for later consideration were the costs for Dr. Kendall’s
airfare, hotel, and meals during the hearing and for Dr. DeMio’s time and expenses related to the
hearing. (Id., ¶ 4 n.1.) After informal discussions, Petitioner agreed to reduce the amount
requested to $120,000.00 for attorneys’ fees and costs for Mr. Downing, except for the costs
specifically reserved for later consideration, and $3,730.00 for Conway, Homer, and Chin-
Caplan. (Id., ¶ 6.) Based upon the parties’ Stipulation, Special Master Vowell awarded
$123,730.00 in interim attorneys’ fees and costs. See Holt v. HHS, No. 05-136V, 2013 WL
1339078 (Fed. Cl. Spec. Mstr. Mar. 8, 2013).

       After interim fees were awarded, Petitioner filed videotape of A.H.T. from birth to three
years of age. (ECF No. 84.) The parties filed briefs setting forth their arguments and additional
evidence addressing the Court’s Exhibit I. (ECF Nos. 90-92.) A Decision was issued by Special
Master Vowell denying compensation. See Holt, 2015 WL 4381588. Petitioner filed a Motion
for Review of that decision on July 23, 2015. (ECF No. 98.)

       Due to the impending retirement of Special Master Vowell, the case was reassigned to
me while awaiting decision on the Motion for Review by the United States Court of Federal
Claims (“Court of Federal Claims”). (ECF No. 102.) On May 5, 2017, Judge Thomas Wheeler
denied Petitioner’s motion. See Holt v. HHS, No. 05-136V (Fed. Cl. May 5, 2017) (ECF No.
113.)

        On July 7, 2017, Petitioner filed an application for final attorneys’ fees and costs
(“Application”), requesting $30,790.50 for attorneys’ fees, and $24,715.11 for attorneys’ costs,
for a total amount of $55,505.61 for attorneys’ fees and costs. (ECF No. 117.) These amounts
are in additional to the $123,730.00 in interim attorneys’ fees and costs already awarded. On
July 20, 2017, Respondent filed a Response to Petitioner’s Application, recommending “that the
special master exercise his discretion and determine a reasonable award for attorneys’ fees and
costs.” (ECF No. 118, p. 3.) On August 28, 2017, Petitioner filed an Unopposed Motion to
Amend Application for Final Attorney’s Fees and Costs, requesting an additional $223.85 for
Petitioner’s out-of-pocket expenses. (ECF No. 120.)




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                                                        III

                             REASONABLE BASIS AND GOOD FAITH


        Implicit in her March 2013 Decision, awarding interim attorneys’ fees and costs, is
Special Master Vowell’s finding that Petitioner’s claim possessed the requisite good faith and
reasonable basis until that time.6 I agree with her assessment. However, reasonable basis which
exists at the beginning of a case may cease to exist as the case progresses. See Chuisano, 116
Fed. Cl. at 288-89. Since Petitioner was unsuccessful before Special Master Vowell, I must
determine if the reasonable basis which existed through the February 2013 hearing continued for
the remainder of the proceeding, to include Petitioner’s subsequent appeal.

        Following the evidentiary hearing and interim award, Petitioner filed videotapes of
A.H.T. from birth to age three years, and the parties set forth their arguments in post-hearings
briefs and other filings. In her Decision, Special Master Vowell found numerous instances in
which Petitioner’s evidence was lacking. See Holt, 2015 WL 4381588. She never suggested,
however, that a closer examination of the reasonable basis for Petitioner’s claim was warranted.

       Petitioner then filed a Motion for Review, arguing that Special Master Vowell
disregarded evidence when making certain factual findings, and failed to properly credit the
opinions of Dr. Levinson and Dr. DeMio, who treated A.H.T. several years after the events in
question. (ECF No. 98, p. 2.) Although Judge Wheeler found Petitioner’s arguments
unpersuasive, he did not characterize them as frivolous, or suggest at any time that Petitioner’s
counsel should not be paid for his work.

       It has been stated that a petitioner’s degree of success when seeking review should not be
considered when determining if an award of attorneys’ fees and costs for any appellate work is
warranted. See Masias v. HHS, 106 Fed. Cl. 700 (2012). However, a petitioner is not
automatically entitled to such an award. See Rodriguez v. HHS, No. 06-559V, 2013 WL
1189451 (Fed. Cl. Spec. Mstr. Mar. 1, 2013).

          Despite Special Master Vowell’s extremely thorough treatment of this claim, Petitioner
is entitled to seek review as long as she continues to possess a reasonable basis to pursue her
claim. In this case, Petitioner laid out specific challenges to Special Master Vowell’s findings
and conclusions. (See Motion for Review, ECF No. 98, p. 2.) Like Judge Wheeler, I find no
merit in Petitioner’s arguments. Nevertheless, the challenges were reasonable enough to merit
an award of attorneys’ fees and costs.

       In light of the written opinions of Judge Wheeler and Special Master Vowell and my own
assessment of the evidence in this case, I find that Petitioner did have a reasonable basis to
continue litigating this case up to the Court of Federal Claims.

6
  Because a petitioner seeking an interim award of attorneys’ fees and costs cannot be definitively categorized as
successful or not, a special master must be satisfied that the good faith and reasonable basis required under the
Vaccine Act for unsuccessful claimants exists. See §300aa–15(e)(1) (requiring the special master to determine “that
the petition was brought in good faith and there was a reasonable basis for the claim”).

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                                                     IV

                                         ATTORNEYS’ FEES

        Reasonable attorneys’ fees are calculated by multiplying a reasonable hourly rate by a
reasonable number of hours expended on litigation, the lodestar approach. Avera v. HHS, 515
F.3d 1343, 1347-48 (Fed. Cir. 2008) (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984));
Saxton, 3 F.3d at 1521. Only the hours “reasonably expended on the litigation” should be
counted. Sabella, 86 Fed. Cl. at 204-05 (quoting Hensley, 461 U.S. at 433). A petitioner’s
counsel in the Vaccine Program is paid the forum rate unless the bulk of the work is performed
in a locale other than the forum (District of Columbia) and the local rate is very significantly
lower than the forum rate. Avera, 515 F.3d at 1349. If these two requirements are met, the
Davis exception applies, and petitioner’s counsel is paid according to the local rate. Id.; see
Davis County Solid Waste Management and Energy Recovery Special Service District v. United
States Environmental Protection Agency, 169 F.3d 755 (D.C. Cir. 1999).

        Petitioner’s interim fee award in this case encompassed the time period ending on
February 22, 2013, the date Petitioner’s counsel sought an interim award of attorneys’ fees and
costs. (See Stipulation, ECF No. 72, ¶ 4.) From that date until the present, Mr. Downing has
been associated with three different law firms: 1) Rhodes, Hieronymus, Jones, Tucker & Gable,
PLLC (“Rhodes”) in Tulsa, Oklahoma; 2) Hennelly & Steadman, PLC (“Hennelly”) in Phoenix,
Arizona; and 3) Van Cott & Talamante, PLLC (“Van Cott”) also in Phoenix, Arizona. The
Application for final attorneys’ fees covers legal work performed by Mr. Downing and other
attorneys and paralegals at these three law firms. (Application, Ex. A, ECF No. 117-1.)

    A. Analysis of Appropriate Hourly Rates for Petitioner’s Counsel

        1. Mr. Downing’s Hourly Rate

        Mr. Downing’s billing record seeks the following hourly rates:

                1. $295 for work performed in early 2013 while at the Rhodes law firm;
                2. $350 for work performed from early May 2013 through the end of 2016 while
                   at the Hennelly and Van Cott law firms; and
                3. $375 for work performed in 2017 while at Van Cott, Mr. Downing’s current
                   law firm.

        Appropriate forum rates for work performed in the Vaccine Program, which have been
endorsed by all current special masters, were set forth by Special Master Gowan in a
comprehensive decision, McCulloch v. HHS, No. 09-293V, 2015 WL 5634323 (Fed. Cl. Spec.
Mstr. Sept. 1, 2015). Following the tiered ranges of appropriate forum rates based on levels of
experience which were established in McCulloch, a suggested fee schedule was posted on the
court’s website,7 setting the following rates for 2015 to 2016:

7
 See http://www.uscfc.uscourts.gov/sites/default/files/Attorneys-Forum-Rate-Fee-Schedule2015-2016.pdf (last
visited on Aug. 19, 2017) (for the OSM’s 2015-16 Fee Schedule); see also McCulloch, 2015 WL 5634323, at *16-
19 (for a description of the process employed when setting these ranges of hourly rates).

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 Attorneys with:
31+ years of experience in practice                                   $385-$430
20 – 30 years of experience in practice                               $350-$415
11 – 19 years of experience in practice                               $300-$375
8 – 10 years of experience in practice                                $275-$350
4 – 7 years of experience in practice                                 $225-$300
Less than 4 years of experience in practice                           $150-$225
Paralegals                                                            $125-$145

       Since Mr. Downing has been practicing law for 23 years, the hourly rate of $350
requested for his work from May 2013 to 2016 falls within the ranges appropriate for his level of
experience.8 Shortly after McCulloch, this rate was approved for work performed in 2015 to
2016, but reduced slightly for the preceding two years. Al-Uffi v. HHS, No. 13-956V, 2015 WL
6181669, at *10-11 (Fed. Cl. Spec. Mstr. Sept. 30, 2015) (awarding $342 for 2013, $348 for
2014, and $350 for 2015). Since then, the hourly rate of $350 for work performed in 2014 to
2016 has been accepted and continually awarded in several cases. See, e.g., Abbott v. HHS, No.
14-907V, 2016 WL 4151689 (Fed. Cl. Spec. Mstr. July 15, 2016); Semanisin v. HHS, No. 15-
1395V, 2017 WL 1398567 (Fed. Cl. Spec. Mstr. Mar. 21, 2017); Bognar v. HHS, No. 16-726V,
2017 WL 1376437 (Fed. Cl. Spec. Mstr. Mar. 22, 2017); Bales v. HHS, No. 15-882V, 2017 WL
2243094 (Fed. Cl. Spec. Mstr. Apr. 26, 2017); Bourche v. HHS, No. 15-232V, 2017 WL
2480936 (Fed. Cl. Spec. Mstr. May 11, 2017). I agree and find this hourly rate to be reasonable
for work performed while at the Hennelly and Van Cott law firms in Phoenix, Arizona from May
2013 through 2016.

        Mr. Downing’s billing record seeks an hourly rate of $295 for work performed in early
2013 while at the Rhodes law firm in Tulsa, Oklahoma. This rate is consistent with the rates for
which Respondent argued in Al-Uffi. 2015 WL 6181669, at *10. Presumably, Mr. Downing was
routinely paid attorneys’ fees at this rate prior to the issuance of McCulloch and his move to
Phoenix, Arizona. The hourly rate of $295 is appropriate for this work.

        With regard to the hourly rate of $375 sought by Mr. Downing for work performed in
2017, I find the proposed rate to be excessive. Mr. Downing’s experience falls into the group of
attorneys with 20 to 30 years under McCulloch’s range of hourly rates. The range for these
attorneys in 2016 is between $350 and $415. However, as Special Master Moran noted, Mr.
Downing’s 2017 hourly rate of $375 per hour would afford him an increase of $25 from his 2016
hourly rate of $350. See Bourche, 2017 WL 2480936, at *4. Special Master Moran further
referenced the Producer Price Index for the “Office of Lawyers” category (“PPI-OL”), provided
by the Department of Labor, Bureau of Labor Statistics, as being suitable for increasing an
attorneys’ hourly rate. See id. (citing Williams v. Johnson, 174 F.Supp.3d 336, 343 (D.D.C.
2016). I agree with Special Master Moran.



8
 For work performed in 2014 to 2016, Mr. Downing’s level of experience places him in the range for attorneys with
20 to 30 years of experience. Mr. Downing’s level of experience during 2013 places him in the range for attorneys’
with 11 to 19 years of experience. The hourly rate of $350 is an appropriate hourly rate under either category.

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         Based on the PPI-OL, a 2.25% rate of increase between 2016 and 2017 would provide
$358 as a reasonable hourly rate for work performed by Mr. Downing in 2017. Bourche, 2017
WL 2480936, at *4. Further, applying this rate of increase to the rates set forth in McCulloch
results in an hourly rate range for attorneys with 20 to 30 years of experience in 2017 that is
between $358 and $424 per hour.9 I find Special Master Moran’s analysis in Bourche to be
persuasive, and agree that $365 is a reasonable hourly rate for Mr. Downing for work performed
in 2017. 2017 WL 2480936, at *4. Since Mr. Downing only requests 3.2 hours for work
performed that year, the resulting adjustment in attorneys’ fees for Mr. Downing is small. (ECF
No. 117-1, p. 6.)

        Petitioner’s award is reduced by $32.00.

        2. Hourly Rates for Other Attorneys and Paralegals

        Petitioner’s final fee Application also covers work performed by other attorneys and a
paralegal at the Rhodes and Van Cott law firms. (ECF No. 117-1, pp. 3-6, 29-30.) Citing
numerous cases, Petitioner argues that the hourly rates charged by individuals working at the
Van Cott firm have been found to be reasonable. (ECF No. 117, p. 2.) Petitioner is correct that
the rate of $195 for Justin Redman’s work and $100 for paralegal Danielle Avery’s work in 2015
to 2016 has been accepted and awarded in multiple cases. See, e.g., Abbott, 2016 WL 4151689,
at *5; Anderson v. HHS, No. 14-879V, 2012 WL 4169107, at *3 (Fed. Cl. Spec. Mstr. June 28,
2016; Laney v. HHS, No. 14-984V, 2016 WL 7030744, at *6 (Fed. Cl. Spec. Mstr. Oct. 18,
2016); Bourche, 2017 WL 2480936, at *4. None of the cases cited by Petitioner, however,
addressed the increased rate requested for Ms. Avery’s work in 2017. See, e.g., Anderson, 2012
WL 4169107, at *3; Laney, 2016 WL 7030744, at *6.

       Ms. Avery’s work in 2017 is billed at a rate of $135, the same rate awarded for the
paralegals’ work in McCulloch. That rate, described as a high rate for paralegal work, was
awarded in McCulloch because the paralegals in that case had earned college degrees and had
worked primarily on vaccine cases for several years. 2015 WL 5634323, at *21. In Semanisin¸
Special Master Gowan declined to award this higher rate for work performed by Ms. Avery in
2017, because the petitioner in that case failed to produce evidence showing Ms. Avery had the
advanced expertise of the paralegals in McCulloch. Semanisin¸ 2017 WL 1398567, at *3.
Instead, Special Master Gowan reduced Ms. Avery’s 2017 rate to $110. (Id.) However, he later
awarded $135 in another case, reasoning that Ms. Avery had gained experience and noting that
$135 is within the range for paralegal rates envisioned in McCulloch. Bales, 2017 WL 2243094,
at *4. The range for paralegals in the 2017 fee schedule which is posted on the court’s website is
$128-$148.

        In this case, Petitioner has not provided evidence to show Ms. Avery possesses additional
expertise such as a college degree. As Special Master Gowan noted, however, she is gaining
greater experience in this specialized area of law. Additionally, $135 is in the lower half of the
range specified for 2017. Thus, I find $135 to be an appropriate rate for Ms. Avery’s work in
2017.

9
 See http://www.uscfc.uscourts.gov/sites/default/files/Attorneys-Forum-Rate-Fee-Schedule-2017.pdf (last visited on
Aug. 19, 2017) (OSM’s 2017 Fee Schedule).

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       While Mr. Downing was at the Rhodes law firm in Tulsa, Oklahoma, attorney Denelda L.
Richardson performed .1 hours of work, billed at an hourly rate of $220, in this case. (See ECF
No. 117-1, pp. 29-30.) Ms. Richardson appears to have nine years of legal experience. I find
$220 to be an appropriate hourly rate.

   B. Attorney Time

       Under the lodestar approach, I also must determine if the amount of hours billed are
reasonable. See Sabella, 86 Fed. Cl. at 204 (citing Avera, 515 F.3d at 1347-48). A review of
Mr. Downing’s billing records shows this to be true in all cases but one. I will not award
attorneys’ fees for the one hour of time Mr. Downing spent on February 19, 2013, while at the
Rhodes law firm, compiling expense and fee information for Petitioner’s interim fee application.
(ECF No. 117-1, p. 29.) This time is covered under the Stipulation and March 8, 2013 award of
interim attorneys’ fees and should have been included in that request and subsequent
negotiations.

       Petitioner’s award is reduced by $295.00.


                                               V

                                 ATTORNEYS’ COSTS
   A. Amounts Covered Under the Interim Fee Application

        Mr. Downing’s billing record submitted with the final fees Application also includes
costs which should have been included in Petitioner’s request for an interim award. According
to the parties’ Stipulation, the only expenses incurred prior to Petitioner’s Application on
February 22, 2013, which were not covered by the parties’ negotiations and included in their
agreement were Dr. Kendall’s expenses (specifically “airfare, hotel, and meal expenses”) and Dr.
DeMio’s fees and expenses related to the evidentiary hearing in February 2013. (See Stipulation,
ECF No. 72, ¶ 4 & ¶ 4 n.1.) Included in this fee Application is $5,000.00 for Dr. Kendall’s




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testimony,10 $1,500.00 for an expert retainer fee incurred in 2011,11 and $2,350.00 for work
performed by an unknown expert, presumably Dr. Levinson, from February 6 to 14, 2013.12

        I do not know whether Petitioner failed to include these costs in his interim application,
or has included them a second time in this request. In either case, the parties formulized an
agreement in 2013, which covered all fees and costs incurred prior to February 22, 2013, with
only three exceptions. Under this agreement, the total requested by Petitioner for interim fees
and costs for Mr. Downing was reduced from $135,957.22 to $120,000.00. (Stipulation, ECF
No. 72, ¶¶ 4, 6.) Based on the Stipulation, the amount of $120,000.00 was awarded.

        The amounts listed above do not fall under any of the exceptions noted in the Stipulation.
I will not alter the parties’ earlier agreement by awarding such amounts now.

         Petitioner’s award is reduced by $8,850.00.

     B. Fees and Expenses related to Dr. DeMio

        Under the parties’ Stipulation, Dr. De Mio’s fees and expenses related to the evidentiary
hearing in February 2013, were specifically reserved for later consideration. Mr. Downing’s
billing record shows that Petitioner is requesting $2,267.38 for expenses and $10,560.00 for fees,
totaling $12,827.38. (ECF No. 117-1, pp. 16, 26.) The $10,560.00 for Dr. DeMio’s fee is based
upon 32 hours of work billed at a rate of $330 per hour. (Id., p. 27.)

       Highly critical of Dr. DeMio’s testimony, Special Master Vowell decribed it as
“involv[ing] broad, general statements, even when discussing his own treatment of A.H.T.”

10
  The invoice provided by Dr. Kendall for the $5,000.00 charged for her testimony shows entries dated February 7
to 15, 2013. (ECF No. 117-1, p. 15.) The phone conference and trial preparation performed on February 7-8, 2013,
are billed at an hourly rate of $350. (Id., p. 15.) For her appearance at the hearing on February 13-15, 2013, Dr.
Kendall has charged a daily rate of $1,000.00. Without explanation, the invoice lists a partial appearance (.25 of a
day) billed at a daily rate of $4,500.00 for the day before the hearing, February 12, 2013. (Id.) Because pre-
approval of Dr. Kendall’s fee agreement was requested but denied in another vaccine case, Anderson v. HHS, No.
02-1314V, I can surmise this time described as a court appearance is instead, Dr. Kendall’s time spent traveling to
the hearing in Washington, D.C.

          As with attorneys’ fees, the lodestar approach should be used to calculate the appropriate amount of expert
costs. See, e.g., Gonzalez v. HHS, No. 14-1072V, 2015 WL 10435023, at *16 (Fed. Cl. Spec. Mstr. Nov. 10, 2015).
Additionally, it is well established that attorney time spent traveling when no substantive work is being performed is
paid at ½ the attorneys’ usual hourly rate. See Hocraffer v. HHS, No. 99-533V, 2011 WL 3705153, at *24 (Fed. Cl.
Spec. Mstr. July 25, 2011). Thus, Dr. Kendall’s use of a daily rate, of $1,000 for hearing appearances and $4,500
would not be appropriate if the amount was awarded. Since I am deducting these amounts, I need not discuss the
issue further.
11
  To support this charge, Petitioner has submitted the “Expert Services Agreement” from American Medical
Experts, LLC. (ECF No. 117-1, pp. 32-33.) The agreement requires a deposit of $1,500.00 and was signed by Mr.
Downing on October 25, 2011 while at the Rhodes law firm. (Id.)
12
   The invoice provided is from “Vitality Health & Wellness.” (ECF No. 117-1, p. 35.) It is dated on February 21,
2013, and describes a review performed on February 8, 2013, and conferences, lasting at least an hour, on February
6, 11, and 14. (Id.)

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Holt, 2015 WL 4381588, at *17. She noted that Dr. DeMio “used medical terminology vaguely
and indiscriminately” and concluded that his testimony was not helpful. (Id.) Special Master
Moran similarly criticized an expert report from Dr. DeMio in another case, reducing his fee in
by more than 50% and warning the attorney in that case that he “is highly unlikely to award any
compensation for work Dr. DeMio performs after the date of [that] decision.” Dia v. HHS, No.
14-954V, 2017 WL 2644695, at *4 (Fed. Cl. Spec. Mstr. May 25, 2017). Still, the hourly rate
requested for Dr. DeMio’s testimony in this case, $330, is not unreasonable, and I will
compensate Dr. DeMio’s time at that rate.

        To support the number of hours claimed, Petitioner included a letter from Dr. DeMio,
stating that he expended 2 hours preparing for the hearing and 30 hours appearing at the hearing
on February 12 (6 hours) and February 13-15 (8 hours each day). (ECF No. 117-1, p. 27.) No
further description of Dr. DeMio’s time is provided. Petitioner also included Dr. DeMio’s
receipts for airfare, hotel, transportation, and food. (Id., pp. 17-25.) For food, it appears that Dr.
DeMio purchased items which he consumed all three hearing days at a grocery store near his
hotel. (Id., p. 25.) This amount is reasonable and will be paid.

         As the transcript indicates, the hearing concluded at noon on February 15, 2013. TR. at
693. Included in Dr. DeMio’s expenses is a flight change fee of $75.00, presumably for an
earlier flight home on February 15, 2017. (ECF No. 117-1, p. 23.) I will pay that charge but will
deduct 4 hours from Dr. DeMio’s time since the hearing did not last the entire day on February
15, 2013.

       Petitioner’s award is reduced by $1,320.00.

   C. Expenses related to Dr. Kendall

    Under the parties’ Stipulation, Dr. Kendall’s expenses related to the evidentiary hearing were
specifically reserved for later consideration. To support the amount requested, $2,314.21,
Petitioner has included an invoice from Dr. Kendall, showing that the $106.02 was for food and
the remaining $2,208.19 was expended on “Travel & Lodging.” (ECF No. 117-1, p. 14.)
Petitioner has not provided any receipts.

        “It is petitioners’ burden to substantiate costs expended with supporting documentation
such as receipts, invoices, canceled checks, etc.” Ceballos v. HHS, No. 99-97V, 2004 WL
784910, at *13 (Fed. Cl. Spec. Mstr. Mar. 25, 2004). Special masters, however, have awarded
compensation for costs without documentation when “satisfied that the costs incurred were
related to the proceedings . . . and were reasonable.” Erickson v. HHS, No. 96-361V, 1999 WL
1268149, at *8 (Fed. Cl. Spec. Mstr. Dec. 10, 1999); see also Ceballos, 2004 WL 784910, at
*13.

        The costs sought for Dr. Kendall’s lodging, travel, and food are slightly higher, but still
similar overall, to those sought for Dr. DeMio’s expenses for which receipts were provided. (See
ECF No. 117-1, pp. 16-25.) Therefore, I find them to be reasonable. However, Dr. Kendall
should provide receipts for such costs in the future.



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     D. Remaining Costs

       The remaining costs sought by Petitioner total less than $1,000.00, with the largest
amounts being for legal research. (ECF No. 117-1, pp. 5, 12, 30-31.) Receipts are included for
most of these costs, and I am satisfied that all are reasonable.


                                                          VI

                                           PETITIONER’S COSTS

       In an amended motion, filed on August 28, 2017, Petitioner requests an additional
$223.85 for her out-of-pocket expenses. These costs are for costs of copying medical records in
2011 to 2012, and a baggage fee of $50.00 incurred on February 12, 2013. (ECF No. 120-1, p.
1.) Receipts have been provided for all costs.

       The Stipulation filed by the parties in March 2013 did not cover out-of-pocket costs
incurred by Petitioner. I find these costs to be reasonable, and will reimburse them all.


                                                          VII

                                       CALCULATION OF AWARD

        I award attorneys’ fees at all requested hourly rates, except for the rate sought by Mr.
Downing for work performed in 2017. I reduce that hourly rate from $375 to $365.
Additionally, I decline to award attorneys’ fees or costs incurred during the time period covered
by the parties’ earlier Stipulation which were not specifically excluded under that agreement. I
also reduce the hours claimed for work performed by Dr. DeMio related to the hearing by 4
hours since the hearing ended at noon on February 15, 2013.

         I award the following amounts:

         Rhodes Law Firm:

         Attorneys’ Fees:

         Individual:       Year:              Hourly             Hours             Hours              Amount
                                              Rate:              Requested:        Awarded:           Awarded:

         Mr. Downing 2013-14                  $295               12.913            11.9                $3,510.50
         Ms. Richardson                       $220                 .1                .1                   $22.00
         Total Fees:                                                                                   $3,532.50

13
  It appears that the total time for Mr. Downing’s work was erroneously totaled as 12.9 instead of 13 hours. (See
ECF No. 117-1, pp. 29-30.) I will use the total listed in the billing record, 12.9 hours, reducing it by 1 hour to 11.9
hours.

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       Total Costs:                                                                   $285.28


       Hennelly Law Firm:

       Attorneys’ Fees:

       Individual:    Year:          Hourly          Hours          Hours          Amount
                                     Rate:           Requested:     Awarded:       Awarded:

       Mr. Downing 2013-14           $350            33.1           33.1           $11,585.00
       Total Fees:                                                                 $11,585.00

       Costs:

       Dr. Kendall’s Expenses                                                       $2,314.21
       Dr. DeMio’s Expenses                                                         $2,267.38
       Dr. DeMio’s Fee                                                              $9,240.00
       Other Costs                                                                     $21.80
       Total Costs:                                                                $13,843.39


       Van Cott Law Firm:

       Attorneys’ Fees:

       Individual:    Year:          Hourly          Hours          Hours          Amount
                                     Rate:           Requested:     Awarded:       Awarded:

       Mr. Downing 2014-16           $350            23.5           23.5            $8,225.00
                   2017              $365             3.2            3.2            $1,168.00
       Mr. Redman 2015               $195            29.1           29.1            $5,674.50
       Ms. Avery   2014-16           $100             1.3            1.3              $130.00
                   2017              $135             1.1            1.1              $148.50
       Total Fees:                                                                 $15,346.00


       Total Costs:                                                                   $416.44


       Petitioner’s Out-of-Pocket Expenses:                                           $223.85

        The overall totals awarded are $30,463.50 for attorneys’ fees, $14,545.11 for attorneys’
costs, and $223.85 for Petitioner’s out-of-pocket expenses for a total award of $45,232.46.



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                                                      VIII

      NOTATION CONCERNING “REASONABLE BASIS” IN AUTISM CASES IN
                             GENERAL

         In the early 2000s, controversies arose concerning whether autism spectrum disorders
might be caused or affected by vaccines. Thus, thousands of Vaccine Act claims were filed
during those years alleging that ASDs were vaccine-caused.14 These claims were certainly
brought in good faith. Further, in light of the scientific uncertainty at the time, I found that the
filing of those petitions was reasonable. It was also reasonable to keep such claims pending until
the OAP “test cases” became final in 2010, and for some short period of time thereafter, in order
for counsel for each petitioner to digest the complicated science, and to consult with experts to
see if a reasonable basis to go forward could be found.

        However, by the end of 2010, the two major theories concerning vaccine-causation of
autism had been thoroughly considered and rejected in the OAP test cases, with opinions that,
among other things, found that all of the many reputable epidemiological studies had found no
association between any vaccines and autism. At that point, the vast majority of the
approximately 5,000 autism petitioners each elected either to withdraw their claim, or to request
that the special master enter a decision denying their claim on the written record. Only a small
minority of the autism petitioners elected to continue to pursue their cases, seeking other
causation theories and/or other expert witnesses. Since 2010, a number of such cases, including
this case, have gone to trial before special masters, and in the cases of this type decided thus far,
all have resulted in rejection of petitioners’ claims that vaccines played a role in causing or
aggravating their child’s autism or autistic symptoms.15

14
  A detailed discussion of the history of the controversy regarding vaccines and autism, the OAP, and the “test
case” litigation can be found in the test cases cited earlier in this Decision. See Supra note 4. A summary can be
found in many of my more recently issued decisions. See, e.g., Hooker v. HHS, No. 02-472V, 2017 WL 3033940, at
*4-5 (Fed. Cl. Spec. Mstr. Apr. 11, 2017).
15
  See, e.g., Henderson v. HHS, No. 09-616V, 2012 WL 5194060 (Fed. Cl. Spec. Mstr. Vowell Sept. 28, 2012) (autism
not caused by pneumococcal vaccination); Blake v. HHS, No. 03-31V, 2014 WL 2769979 (Fed. Cl. Spec. Mstr. Vowell
May 21, 2014) (autism not caused by MMR vaccination); Murphy v. HHS, No. 05-1063V, 2016 WL 3034047 (Fed.
Cl. Spec. Mstr. Corcoran Apr. 25, 2016) (autism not caused by DTaP or MMR vaccines), aff’d, 2016 WL 4926207
(Fed. Cl. Aug. 15, 2016); Franklin v. HHS, No. 99-855V, 2013 WL 3755954 (Fed. Cl. Spec. Mstr. Hastings May 16,
2013) (MMR and other vaccines found not to contribute to autism); Coombs v. HHS, No. 08-818V, 2014 WL 1677584
(Fed. Cl. Spec. Mstr. Hastings Apr. 8, 2014) (autism not caused by MMR or Varivax vaccines); Long v. HHS, No. 08-
792V, 2015 WL 1011740 (Fed. Cl. Spec. Mstr. Hastings Feb. 19, 2015) (autism not caused by influenza vaccine);
Brook v. HHS, No. 04-405V, 2015 WL 3799646 (Fed. Cl. Spec. Mstr. Hastings May 14, 2015) (autism not caused by
MMR or Varivax vaccines); Holt, 2015 WL 4381588 (autism not caused by hepatitis B vaccine), aff’d, Holt v. HHS,
No. 05-136V (Fed. Cl. May 5, 2017); Lehner v. HHS, No. 08-554V, 2015 WL 5443461 (Fed. Cl. Spec. Mstr. Vowell
July 22, 2015) (autism not caused by influenza vaccine); Miller v. HHS, No. 02-235V, 2015 WL 5456093 (Fed. Cl.
Spec. Mstr. Vowell August 18, 2015) (ASD not caused by combination of vaccines); Allen v HHS, No. 02-1237V,
2015 WL 6160215 (Fed. Cl. Spec. Mstr. Vowell Sept. 26, 2015) (autism not caused by MMR vaccination); R.K. v.
HHS, No. 03-632V, 2015 WL 10936124 (Fed. Cl. Spec. Mstr. Vowell Sept. 28, 2015) (autism not caused by influenza
vaccine), aff’d, 125 Fed. Cl. 57 (2016), aff’d, 2016 WL 7174139 (Fed. Cir. Dec. 9, 2016); Hardy v. HHS, No. 08-
108V, 2015 WL 7732603 (Fed. Cl. Spec. Mstr. Hastings Nov. 3, 2015) (autism not caused by several vaccines);
Sturdivant v. HHS, No. 07-788V, 2016 WL 552529 (Fed. Cl. Spec. Mstr. Hastings Jan. 21, 2016) (autism not caused
by Hib and Prevnar vaccines); R.V. v. HHS, No. 08-504V, 2016 WL 3882519 (Fed. Cl. Spec. Mstr. Corcoran Feb. 19,
2016) (autism not caused by influenza vaccine), aff’d, 2016 WL 3647786 (Fed. Cl. June 2, 2016); Cunningham v.

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        There is now, therefore, a serious question concerning whether it is reasonable for
additional Vaccine Act petitioners to continue to pursue highly speculative theories concerning
vaccinees with autism spectrum disorders. In each such case, of course, a case-specific decision
must be made concerning if and when it became unreasonable, under all the circumstances of the
case, to continue to go forward. In many of the cases decided since 2010, like Holt, petitioners
have tried to avoid the conclusions of the test cases by alleging that a child suffered a vaccine-
caused “encephalopathy” that resulted in “autistic-like features,” or that a child had an
underlying “mitochondrial disorder” that somehow made the child more vulnerable to injuries by
vaccines, or that an “autoimmune” process was involved. See Holt, 2015 WL 4381588, at *3
(for Special Master Vowell’s discussion of this trend). But all such cases, in essence, have
amounted to attempts to prove that vaccines can cause or aggravate symptoms of ASDs. And,
except for two highly unusual Table Injury cases,16 all such theories have been rejected.

        Further, a review of the post-“test case” decisions enumerated supra in note 16
demonstrates that those cases typically involved expert witnesses who were quite underqualified
to opine on the vaccine-causation issues at hand, and/or presented theories with no substantial
scientific merit, and/or disregarded the facts contained in the medical records of the case.

       Accordingly, despite my finding of reasonable basis in this case, I hereby put counsel,
especially in autism-related cases, on notice, once again, that if counsel continue to go forward
with such extremely weak cases, I (and other special masters) am not likely to find that there was
a reasonable basis for the filing or for the continued prosecution of these cases. (See also Wilson
v. HHS, No. 15-551V, 2017 WL 877278, at *6 n.14 (Fed. Cl. Spec. Mstr. Feb. 10, 2017).




HHS, No. 13-483V, 2016 WL 4529530 (Fed. Cl. Spec. Mstr. Hastings Aug. 1, 2016) (autism not caused by MMR
vaccine), aff’d, 2017 WL 1174448 (Fed. Cl. Jan. 25, 2017); T.M. v. HHS, No. 08-284V (Fed. Cl. Spec. Mstr. Corcoran
Aug. 9, 2016) (not yet published) (autism not caused by DTaP vaccine), aff’d, 2017 WL 3184726 (Fed. Cl. 2017);
Anderson v. HHS, 02-1314V, 2016 WL 8256278 (Fed. Cl. Spec. Mstr. Corcoran Nov. 1, 2016) (autism not caused by
MMR vaccination), aff’d, 2017 WL 1787975 (Fed. Cl. May 5, 2017).

16
  In Poling v. HHS, the presiding special master clarified that the family was compensated because the Respondent
conceded that the Poling child had suffered a Table Injury--not because the Respondent or the special master had
concluded that any vaccination had contributed to causing or aggravating the child’s ASD. See Poling v. HHS, No.
02-1466V, 2011 WL 678559, at *1 (Fed. Cir Spec. Mstr. Jan. 28, 2011) (a fees decision, but noting specifically that
the case was compensated as a Table Injury).

          Second, in Wright v. HHS, No. 12-423V, 2015 WL 6665600 (Fed. Cl. Spec. Mstr. Sept. 21, 2015), Special
Master Vowell concluded that a child, later diagnosed with ASD, suffered a “Table Injury” after a vaccination.
However, she stressed that she was not finding that the vaccinee’s ASD in that case was “caused-in-fact” by the
vaccination--to the contrary, she specifically found that the evidence in that case did not support a “causation-in-
fact” claim, going so far as to remark that the petitioners’ “causation-in-fact” theory in that case was “absurd.”
Wright v. HHS, No. 12-423V, 2015 WL 6665600, at *2 (Fed. Cl. Spec. Mstr. Sept. 21, 2015).



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                                                         IX

                                                CONCLUSION

For the foregoing reasons, I award $45,232.46 as follows:

A lump sum of $45,008.61 in the form of a check payable jointly to Petitioner and
Petitioner’s counsel, Andrew D. Downing, Esq., on account of services performed and costs
incurred by counsel’s law firms.

A lump sum of $223.85 in the form of a check payable to Petitioner.

The clerk of the court shall enter judgment in accordance herewith.17

IT IS SO ORDERED.

                                                                                  /s/ George L. Hastings, Jr.
                                                                                  George L. Hastings, Jr.
                                                                                  Special Master




17
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                         17
